     CASE 0:14-cv-03220-JRT-KMM Document 34 Filed 08/30/18 Page 1 of 1



                         UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA, ex rel.,
RYAN MESAROS,

                    Plaintiff,                   Civil No. 14-sc-3220 (JRT/KMMM)

                                                               ORDER

                    v.

CVS CAREMARK CORPORATION,
CVS PHARMACY, INC., CAREMARK, LLC,
and CAREMARK MINNESOTA SPECIALTY
PHARMACY HOLDING, LLC,


                    Defendants.


      Upon consideration of the United States’ Notice to Unseal Closed Case IT IS

HEREBY ORDERED:

      1)     The relator’s amended complaint, the relator’s motion to dismiss and the

order granting dismissal, the United States’ NOTICE TO UNSEAL CLOSED CASE, and

this Order be unsealed, and

      2)     All other contents of the Court's file in this action remain under seal and not

be made public.

Date: August 30, 2018
at Minneapolis, Minnesota.
                                         s/John R. Tunheim
                                         JOHN R. TUNHEIM
                                         Chief Judge
                                         United States District Court
